       Case 4:19-cv-07123-PJH       Document 395      Filed 09/27/24   Page 1 of 5




 1   Greg D. Andres
     Antonio J. Perez-Marques
 2   Craig T. Cagney
 3   Gina Cora
     Luca Marzorati
 4     (admitted pro hac vice)
     DAVIS POLK & WARDWELL LLP
 5   450 Lexington Avenue
     New York, New York 10017
 6
     Telephone: (212) 450-4000
 7   Facsimile: (212) 701-5800
     Email: greg.andres@davispolk.com
 8            antonio.perez@davispolk.com
              craig.cagney@davispolk.com
 9            gina.cora@davispolk.com
              luca.marzorati@davispolk.com
10
     Micah G. Block (SBN 270712)
11
     DAVIS POLK & WARDWELL LLP
12   1600 El Camino Real
     Menlo Park, California 94025
13   Telephone: (650) 752-2000
     Facsimile: (650) 752-2111
14   Email:      micah.block@davispolk.com
15   Attorneys for Plaintiffs WhatsApp LLC and Meta
     Platforms, Inc.
16

17                               UNITED STATES DISTRICT COURT
18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                      OAKLAND DIVISION
20    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )             Case No. 4:19-cv-07123-PJH
21                                      )
                                        )
22                    Plaintiffs,       )             LOCAL RULE 79-5(F)(3) STATEMENT
                                        )             IN RESPONSE TO DEFENDANTS’
23           v.                         )             ADMINISTRATIVE MOTION TO
                                        )             CONSIDER WHETHER ANOTHER
24    NSO GROUP TECHNOLOGIES LIMITED )                PARTY’S MATERIAL SHOULD BE
      and Q CYBER TECHNOLOGIES LIMITED, )             FILED UNDER SEAL
25                                      )
                                        )             Ctrm:    3
26                    Defendants.       )             Judge:   Hon. Phyllis J. Hamilton
                                        )
27                                      )             Action Filed: 10/29/2019
                                        )
28                                      )
       Case 4:19-cv-07123-PJH           Document 395         Filed 09/27/24       Page 2 of 5




 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          Pursuant to Civil Local Rule 79-5(f)(3), Plaintiffs WhatsApp LLC and Meta Platforms, Inc.

 3   (“Plaintiffs”), by and through their counsel, respectfully submit this response to the Administrative

 4   Motion to Consider Whether Another Party’s Material Should Be Filed Under Seal (the “Adminis-

 5   trative Motion”) filed by Defendants NSO Group Technologies Limited and Q Cyber Technologies

 6   Limited (“NSO”). Dkt. No. 386. The Administrative Motion identifies portions of the Joint Letter

 7   Brief Regarding Defendants’ Motion to Compel Responses to NSO’s Fifth and Sixth Sets of Requests

 8   for Production of Documents and Second Set of Interrogatories (the “Joint Letter Brief”), Dkt. No.

 9   386-2, and Exhibits 3, 4, 5, and 6 thereto (collectively, the “Materials”), as referencing or containing

10   materials designated as “Highly Confidential – Attorneys’ Eyes Only” by Plaintiffs.

11          Plaintiffs request that the Court keep only Exhibit 3 and the portions of Exhibit 5 indicated in

12   the version attached to the Declaration of Craig T. Cagney under seal, and do so pursuant to Local

13   Rules 79-5(c) and (d). Plaintiffs have no objection to unsealing the remaining Materials.

14          Exhibits 3 and 5 comprise or refer to materials that have been designated and produced in

15   discovery as “Highly Confidential – Attorney’s Eyes Only” pursuant to the August 31, 2020 Stipu-

16   lated Protective Order, Dkt. No. 132. Exhibit 3 reflects confidential communications among Plain-

17   tiffs’ employees regarding NSO’s attacks and other sensitive business and regulatory matters. See

18   Dkt. No. 386-2, Exs. 3. Portions of Exhibit 5 reflect confidential personal information of certain of

19   Plaintiffs’ individual employees, including their hourly wages and other payment information. See

20   Cagney Decl. Ex. 5. Disclosure of these communications would pose a risk of harm to Plaintiffs’

21   business, provide competitors an unfair advantage by providing access to internal business delibera-

22   tions, or pose a risk of harm to the privacy interests of the listed individuals.

23          The appropriate standard for sealing here is “good cause.” The Materials are quoted in or are

24   attached to NSO’s discovery motion—a non-dispositive motion that only tangentially relates to the

25   case—so the moving party need only show “good cause” for why the documents should remain under

26   seal. Wells Fargo & Co. v. ABD Ins. & Fin. Servs., 2013 WL 897914, at *1 (N.D. Cal. Mar. 8, 2013)

27   (Hamilton, J.). “Good cause” requires only “a particularized showing” that sealing is appropriate,

28
                                                         1
     LOCAL RULE 79-5(F)(3) STATEMENT IN RESPONSE TO DEFENDANTS’ ADMINISTRATIVE MOTION TO CONSIDER
     WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL - CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH          Document 395         Filed 09/27/24     Page 3 of 5




 1   which “will suffice to seal documents produced in discovery.” Kamakana v. City & Cty. of Honolulu,

 2   447 F.3d 1172, 1180 (9th Cir. 2006); see also Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d

 3   1092, 1097 (9th Cir. 2016) (“Applying the good cause standard from Rule 26(c) as an exception for

 4   discovery-related motions makes sense, as the private interests of litigants are ‘the only weights on

 5   the scale.’” (quoting Kamakana, 447 F.3d at 1180)).

 6          Plaintiffs easily meet the applicable good-cause standard here. Courts have routinely held

 7   that confidential business information and individuals’ personal identifying information satisfies the

 8   compelling reasons standard, which is far more “exacting” than the good-cause standard applicable

 9   here. Jones v. PGA Tour, Inc., 2023 WL 7440303, at *2 (N.D. Cal. May 18, 2023) (granting plain-

10   tiff’s renewed sealing motion with respect to information including “confidential business infor-

11   mation” and “internal decisionmaking processes”); Nursing Home Pension Fund v. Oracle Corp.,

12   2007 WL 3232267, at *1 (N.D. Cal. Nov. 1, 2007) (“The Ninth Circuit has found that compelling

13   reasons exist to keep personal information confidential to protect an individual’s privacy interest and

14   to prevent exposure to harm or identity theft.” (citing Foltz v. State Farm Mut. Auto. Ins. Co., 331

15   F.3d 1122, 1134 (9th Cir. 2003))); see also In re Sony Gaming Networks & Customer Data Sec.

16   Breach Litig., 2015 WL 13653885, at *1 (S.D. Cal. Jan. 20, 2015) (permitting sealing records where

17   the records were “subject to a contractual duty of confidentiality” and where “harm could result to

18   [the parties’] business operations” if the information were prematurely disclosed); In re Qualcomm

19   Litig., 2017 WL 5176922, at *2 (S.D. Cal. Nov. 8, 2017) (concluding that the parties established

20   compelling reasons to file under seal records that implicate “confidential business information” sub-

21   ject to confidentiality agreements); O’Connor v. Uber Techs., Inc., 2015 WL 355496, at *2 (N.D.

22   Cal. Jan. 27, 2015) (“[R]edaction of [their] identifying information is particularly appropriate here,

23   because the public’s interest in the name of [an employee] is likely insignificant, as the exact name

24   is irrelevant to the legal issues in this case.”); Ehret v. Uber Techs., Inc., 2015 WL 12977024, at *3

25   (N.D. Cal. Dec. 2, 2015) (holding that names and individual earnings may be redacted under both the

26   good cause and compelling reasons standard as the information “concerns privacy interests”). Pub-

27   licly disclosing these materials would risk harm to Plaintiffs’ business, would provide competitors

28
                                                       2
     LOCAL RULE 79-5(F)(3) STATEMENT IN RESPONSE TO DEFENDANTS’ ADMINISTRATIVE MOTION TO CONSIDER
     WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL - CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH          Document 395        Filed 09/27/24     Page 4 of 5




 1   an unfair advantage by providing access to internal business deliberations, and would pose a risk of

 2   harm to the privacy interests of Plaintiffs’ individual employees. This harm could not be mitigated

 3   by any means less restrictive than sealing.

 4          For the foregoing reasons, Plaintiffs request that Exhibit 3 and Exhibit 5 to the Joint Letter

 5   that NSO submitted or referenced remain under seal. This request is narrowly tailored to only seal-

 6   able material (as identified by the proposed redactions in the Cagney Declaration).

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                       3
     LOCAL RULE 79-5(F)(3) STATEMENT IN RESPONSE TO DEFENDANTS’ ADMINISTRATIVE MOTION TO CONSIDER
     WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL - CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH          Document 395          Filed 09/27/24    Page 5 of 5




 1    Dated: September 27, 2024                   Respectfully Submitted,

 2                                                DAVIS POLK & WARDWELL LLP
 3
                                                  By: /s/ Craig T. Cagney
 4                                                    Greg D. Andres
 5                                                    Antonio J. Perez-Marques
                                                      Craig T. Cagney
 6                                                    Gina Cora
                                                      Luca Marzorati
 7                                                      (admitted pro hac vice)
                                                      DAVIS POLK & WARDWELL LLP
 8
                                                      450 Lexington Avenue
 9                                                    New York, New York 10017
                                                      Telephone: (212) 450-4000
10                                                    Facsimile: (212) 701-5800
                                                      Email: greg.andres@davispolk.com
11                                                            antonio.perez@davispolk.com
                                                              craig.cagney@davispolk.com
12
                                                              gina.cora@davispolk.com
13                                                            luca.marzorati@davispolk.com

14                                                         Micah G. Block (SBN 270712)
                                                           DAVIS POLK & WARDWELL LLP
15                                                         1600 El Camino Real
                                                           Menlo Park, California 94025
16
                                                           Telephone: (650) 752-2000
17                                                         Facsimile: (650) 752-2111
                                                           Email: micah.block@davispolk.com
18
                                                           Attorneys for Plaintiffs WhatsApp LLC and
19                                                         Meta Platforms, Inc.
20

21

22

23

24

25

26

27

28
                                                       4
     LOCAL RULE 79-5(F)(3) STATEMENT IN RESPONSE TO DEFENDANTS’ ADMINISTRATIVE MOTION TO CONSIDER
     WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL - CASE NO. 4:19-CV-07123-PJH
